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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

ALECIA MCNEIL, A# 214829498,

  197 Market St., Apt 7                         Case No. 1:20-cv-02338
  Paterson, NJ 07505

     Plaintiff,

v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

CHAD WOLF, Secretary of the Department of
Homeland Security,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

KENNETH CUCCINELLI, Director of the
United States Citizenship and Immigration
Services,

Serve: U.S. Citizenship & Immigration
       Services


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         425 I. Street, N.W., Room 6100
         Washington, D.C. 20536

 and,

 JOHN RAMIREZ, Director of the Phoenix
 Field Office of the United States Citizenship
 and Immigration Services,

 Serve: John Ramirez
         USCIS
         1330 S 16Th
         Phoenix, AZ 85034

   Defendants.


 COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’
 REFUSAL TO ADJUDICATE PLAINTIFF’S APPLICATION TO ADJUST STATUS

        Plaintiff Alecia Mcneil respectfully requests a hearing before this Honorable Court to

make a determination on Plaintiff’s application to adjust status, or alternatively requesting that

this Honorable Court issue a writ of mandamus compelling Defendants to adjudicate Plaintiff’s

long-delayed application to adjust status.

                                             PARTIES
        1.      Plaintiff Alecia Mcneil is a citizen of Jamaica.

        2.      Alecia Mcneil is married to a U.S. citizen named Yusef Alexand Ambrosio.

        3.      Alecia Mcneil resides in Paterson, NJ.

        4.      Yusef Alexand Ambrosio filed an I-130 Petition for Alien Relative on behalf of

the Plaintiff on or about March 19, 2018. The couple filed an accompanying I-485 Application

for Adjustment of Status on Plaintiff’s behalf on that same date as well. Defendants assigned

Receipt Number MSC1890809370 to Plaintiff’s case.

        5.      USCIS completed the fingerprinting and photographing of Alecia Mcneil as part




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of the processing of the pending applications.

          6.      Defendants conducted an interview on the couple’s I-130 application and the

corresponding I-485 application for adjustment of status on June 28, 2019.

          7.      Since then, the Defendants have taken no action on the pending adjustment

application.

          8.      Since Alecia Mcneil and Yusef Alexand Ambrosio filed the applications with

USCIS, they have made repeated requests to have their case finally adjudicated.

          9.      Despite numerous calls to USCIS and their attempts to prompt movement on the

case, Alecia Mcneil’s application to adjust status has remained pending far longer than is

reasonable.

          10.     USCIS has refused to adjudicate Alecia Mcneil’s application in accordance with

applicable legal criteria.

          11.     Plaintiff brings this action to compel the USCIS to finally adjudicate the pending

applications as required by law.

          12.     Defendant Department of Homeland Security (hereinafter sometimes referred to

as “the DHS”) is the agency of the United States that is responsible for implementing the petition

for alien relative provisions of the law and assisting the USCIS with background and security

checks.

          13.     Defendant United States Citizenship and Immigration Services (hereinafter

sometimes referred to as “the USCIS”) is the component of the DHS that is responsible for

processing adjustment of status applications.

          14.     Defendant Chad Wolf, the Secretary of the DHS, is the highest ranking official

within the DHS.        Wolf, by and through his agency for the DHS, is responsible for the

implementation of the Immigration and Nationality Act (hereinafter sometimes referred to as



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“the INA”), and for ensuring compliance with applicable federal law, including the

Administrative Procedures Act (hereinafter sometimes referred to as “the APA”). Wolf is sued

in an official capacity as an agent of the government of the United States.

       15.     Defendant Kenneth Cuccinelli, Director of the USCIS, is the highest ranking

official within the USCIS. Cuccinelli is responsible for the implantation of the INA and for

ensuring compliance with all applicable federal laws, including the APA. Cuccinelli is sued in

an official capacity as an agent of the government of the United States.

       16.     Defendant John Ramirez is the Director of the USCIS Phoenix Field Office and is

sued only in an official capacity, as well as any successors and assigns. The Phoenix Field Office

has jurisdiction over applications for adjustment of status for immigrants in Paterson, NJ, where

Plaintiff resides. Ramirez is responsible for the implantation of the INA and for ensuring

compliance with all applicable federal laws, including the APA. John Ramirez is sued in an

official capacity as an agent of the government of the United States.

                                     JURISDICTION AND VENUE

       17.     This Honorable Court has federal question jurisdiction over this cause pursuant to

28 U.S.C. § 1331, as it raises claims under the Constitution of the United States, the INA, 8

U.S.C. § 1101 et seq., and the APA, 5 U.S.C. § 701 et seq, in conjunction with the Mandamus

Act, 28 USC § 1361.

       18.     Venue is proper pursuant to 28 U.S.C. § 1391(e)(1) because (1) Defendants are

agencies of the United States or officers or employees thereof acting in their official capacity or

under color of legal authority; (2) no real property is involved in this action, and; (3) the

Defendants all maintain offices within this district.

                                  FIRST CLAIM FOR RELIEF
                  (Agency Action Unlawfully Withheld and Unreasonably Delayed)




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        For the first claim for relief against all Defendants, Plaintiff alleges and state as follows:

        19.     Plaintiff realleges and incorporate by reference the foregoing paragraphs as

though fully set out herein.

        20.     The APA requires that “[w]ith due regard for the convenience and necessity of the

parties or their representatives and within a reasonable time, each agency shall proceed to

conclude a matter presented to it.”        5 U.S.C. § 555(b).        Section 555(b) creates a non-

discretionary duty to conclude agency matters. Litton Microwave Cooking Prods. v. NLRB, 949

F.2d 249, 253 (8th Cir. 1991). A violation of this duty is a sufficient basis for mandamus relief.

        21.     The APA permits this Honorable Court to “compel agency action unlawfully

withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

        22.     Plaintiff alleges that the application has been in administrative processing beyond

a reasonable time period for completing administrative processing of the adjustment of status

application.

        23.     The combined delay and failure to act on Alecia Mcneil’s adjustment of status

application is attributable to the failure of Defendants to adhere to their legal duty to avoid

unreasonable delays under the INA and the applicable rules and regulations.

        24.     There are no alternative adequate or reasonable forms of relief available to

Plaintiff.

        25.     Plaintiff has exhausted all available administrative remedies in pursuit of a

resolution of this matter, including repeatedly requesting the processing of the case with the

USCIS via phone and InfoPass appointments.

                                   SECOND CLAIM FOR RELIEF
                               (Violation of Right to Due Process of Law)

        For the second claim for relief against all Defendants, Plaintiff alleges and states as




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follows:

        26.     Plaintiff realleges and incorporate by reference the foregoing paragraphs as

though fully set out herein.

        27.     The right to fundamental fairness in administrative adjudication is protected by

the Due Process Clause of the Fifth Amendment to the United States Constitution. Plaintiff may

seek redress in this Court for Defendants’ combined failures to provide a reasonable and just

framework of adjudication in accordance with applicable law.

        28.     The combined delay and failure to act by Defendants has violated the due process

rights of Plaintiff.

        29.     The combined delay and failure to act by Defendants has irrevocably harmed

Plaintiff in the denial of an opportunity to claim lawful permanent resident status, as well as the

ability to sponsor family members for residence in the U.S. and in various other ways.

                                       REQUEST FOR RELIEF

        WHEREFORE, Plaintiff Alecia Mcneil requests the following relief:

        1.      That this Honorable Court assume jurisdiction over this action;

        2.      That this Honorable Court issue a writ of mandamus compelling Defendants to

promptly complete all processing of Alecia Mcneil’s application to adjust status within sixty

days;

        3.      That this Honorable Court take jurisdiction of this matter and adjudicate Alecia

Mcneil’s application to adjust status pursuant to this Court’s declaratory judgment authority;

        4.       That this Honorable Court issue a writ of mandamus compelling Defendants to

issue a green card to Alecia Mcneil;

        5.      That this Honorable Court issue a writ of mandamus compelling Defendants to

explain to Plaintiff the cause and nature of the delay and inform Plaintiff of any action they may



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take to accelerate processing of the application to adjust status;

       6.      Attorney’s fees, legal interests, and costs expended herein, pursuant to the Equal

Access to Justice Act, 28 U.S.C. § 2412;

       7.      Such other and further relief as this Honorable Court may deem just and proper.



                                                                RESPECTFULLY SUBMITTED
                                                                           August 24, 2020


                                                                         /s/ James O. Hacking, III
                                                                              James O. Hacking, III
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                                                                ATTORNEYS FOR PLAINTIFF
                                                                         ALECIA MCNEIL




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